Case 2:22-cv-01916-FWS-GJS Document 48 Filed 07/27/22 Page 1 of 3 Page ID #:350


    1   Mohammad Tajsar (SBN 280152)
        mtajsar@aclusocal.org
    2   ACLU Foundation of Southern California
    3   1313 West 8th Street
        Los Angeles, CA 90017
    4   Tel: (213) 977-9500
    5
        Counsel for Plaintiffs
    6   (Additional counsel continued on next page)
    7
    8
    9
   10                     UNITED STATES DISTRICT COURT
   11                FOR THE CENTRAL DISTRICT OF CALIFORNIA

   12
   13   ABDIRAHMAN ADEN KARIYE, et
        al.,
   14
   15        Plaintiffs,
   16                                            NOTICE OF CHANGE OF LEAD
        v.
   17                                            COUNSEL
        ALEJANDRO MAYORKAS,
   18                                            No. 2:22-cv-01916-FWS-GJS
        Secretary of the U.S. Department of
   19   Homeland Security, in his official
        capacity, et al.,
   20
   21        Defendants.
   22
   23
   24
   25
   26
   27
   28


                                NOTICE OF CHANGE OF LEAD COUNSEL
Case 2:22-cv-01916-FWS-GJS Document 48 Filed 07/27/22 Page 2 of 3 Page ID #:351


    1   Ashley Gorski (pro hac vice)
        agorski@aclu.org
    2   Scarlet Kim (pro hac vice)
    3   scarletk@aclu.org
        Sarah Taitz (pro hac vice)
    4   staitz@aclu.org
    5   American Civil Liberties Union Foundation
        125 Broad Street, Floor 18
    6   New York, NY 10004
    7   Tel: (212) 549-2500

    8   Daniel Mach (pro hac vice)
    9   dmach@aclu.org
        Heather L. Weaver (SBN 226853)
   10   hweaver@aclu.org
   11   American Civil Liberties Union Foundation
        915 15th St., NW Ste. 600
   12   Washington, DC 20005
   13   Tel: (202) 675-2330

   14   Teresa Nelson (pro hac vice)
   15   tnelson@aclu-mn.org
        American Civil Liberties Union of Minnesota
   16   P.O. Box 14720
   17   Minneapolis, MN 55415
        Tel: (651) 645-4097
   18
   19   Counsel for Plaintiffs
   20
   21
   22
   23
   24
   25
   26
   27
   28


                                 NOTICE OF CHANGE OF LEAD COUNSEL
Case 2:22-cv-01916-FWS-GJS Document 48 Filed 07/27/22 Page 3 of 3 Page ID #:352


    1         TO THE CLERK OF THE COURT AND TO ALL ATTORNEYS OF
    2   RECORD:
    3         NOTICE IS HEREBY GIVEN that the undersigned counsel, Ashley Gorski
    4   (pro hac vice) of the American Civil Liberties Union Foundation, should be
    5   designated Lead Counsel in the above-captioned matter.
    6
    7   DATED: July 27, 2022           Respectfully submitted,

    8
                                       By:   /s/ Ashley Gorski
    9                                        Ashley Gorski
   10                                        Counsel for Plaintiffs

   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                              -1-
                                NOTICE OF CHANGE OF LEAD COUNSEL
